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9                             UNITED STATES DISTRICT COURT
10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                  WESTERN DIVISION
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      EBONY BALLARD,                              Case No. CV-20-02679 MCS (Ex)
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                 Plaintiff,
14                                                [PROPOSED] ORDER GRANTING
                        v.                        DEFENDANT’S MOTION IN LIMINE
15                                                TO EXCLUDE TESTIMONY
16    LOUIS DEJOY, Postmaster General of          REGARDING OTHER EEO
      the United States of America,               COMPLAINTS AND IMPROPER LAY
17                                                PERSON OPINION
                 Defendant.
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19                                                Honorable Mark C. Scarsi
                                                  United States District Judge
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     Case 2:20-cv-02679-MCS-E Document 38-1 Filed 05/03/21 Page 2 of 2 Page ID #:991




1           Having considered Defendant’s Motion in Limine, the Memorandum of Points
2     and Authorities, the evidence presented therein, the Opposition and Reply briefs filed
3     thereto:
4           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Defendant’s
5     Motion is granted and testimony regarding other Equal Employment Opportunity
6     (“EEO”) complaints and improper lay person opinions labelling actions from supervisors
7     as “retaliatory” or “retaliation” is excluded.
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9           IT IS SO ORDERED.
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12    DATED: __________________, 2021
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16                                                     ________________________________
17                                                     HONORABLE MARK C. SCARSI
                                                       UNITED STATES DISTRICT JUDGE
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